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uNlTEo sTATEs oF AMERlc/-\
Plaintiff
\/s. ,
cR. No. 04-20464-0 /
04-20471-0
cHARl_oTTE cRAwFoRD

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to April 4, 2005 with a
Chanqe of P|ea hearing date of Thursdav. June 22. 2005, at 8:45 a.m., in Courtroom
3 ch Floor of the Federal Bui|ding, l\/lemphis, TN.

 

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so 0RDERED this 3d day of May. 2005.

 

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This notice confirms a copy of the document docketed as number 75 in
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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

